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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

JILL BABCOCK, et al.,

      Plaintiffs,                            Civil Action No. 22-cv-12951

v.                                           HON. MARK A. GOLDSMITH

MICHIGAN, STATE OF, et al.,

     Defendants.
_________________________________/

     STIPULATED ORDER DISMISSING HINES (INCLUDING HINES
          DETROIT SERVICES LLC) WITHOUT PREJUDICE

      Based on the agreement and stipulation of the Plaintiffs and Defendant

Hines, as reflected by the signatures of their counsel below:

      Hines (including Hines Detroit Services LLC) is DISMISSED WITHOUT

PREJUDICE from this case, without costs or attorney fees to either party.

      IT IS SO ORDERED.

Dated: April 26, 2023                        s/Mark A. Goldsmith
      Detroit, Michigan                      MARK A. GOLDSMITH
                                             United States District Judge
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      IT IS SO STIPULATED:

      On behalf of our clients, we stipulate to entry of the above order.

Respectfully Submitted,

Dated: April 25, 2023           /s/ with consent Michael W. Bartnik
                                By: Michael W. Bartnik (P32534)
                                Law For Baby Boomers, PLLC
                                Attorney for Plaintiffs
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Dated: April 25, 2023           Paul S. Magy
                                By: Paul S. Magy (P34423)
                                Gregory N. Longworth (P49249)
                                Clark Hill PLC
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                        LOCAL RULE CERTIFICATION

      I, Paul S. Magy, certify that this document complies with Local Rule 5.1(a),

including: double-spaced (except for quoted materials and footnotes); at least one-

inch margins on the top, sides, and bottom; consecutive page numbering; and type

size of all text and footnotes that is no smaller than 10-1/2 characters per inch (for

non-proportional fonts) or 14 point (for proportional fonts). I also certify that it is

the appropriate length. Local Rule 7.1(d)(3).




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